952 F.2d 395
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Arthur Lee GOODEN, II, Plaintiff-Appellant,v.J.A. PARRISH, Sergeant;  Eddie Walker, Defendants-Appellees.
    No. 91-7163.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 5, 1991.Decided Dec. 30, 1991.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  (CA-91-101-R), Jackson L. Kiser, District Judge.
      Arthur Lee Gooden, II, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, MURNAGHAN and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Arthur Lee Gooden appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Gooden v. Parrish, No. CA-91-101-R (W.D.Va. July 11, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    